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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

In the matter of: Criminal Case Transfers to
District Judge Raag Singhal

494 v bel Ka clio AclalPlaintift v. Defendant), Case No:_fI-cR - S0l6S
USA v. Jose. Juaa Garcia (Plaintiff v. Defendant), Case No:__}9 - CK ~- SO DQ.

USA v. Miquel Lopez" Moreno (Plaintiff v. Defendant), Case No:__ (9 - CK — coal

ORDER OF REASSIGNMENT

The above-styled cases have been selected by the Clerk of Court utilizing a random
selection procedure to insure the fair and impartial reassignment of cases from the undersigned
District Judge to the newly appointed District Judge Raag Singhal. Prior to executing this
Order, the undersigned has reviewed the files and has ruled upon all ripe pending motions that
have not been referred to the paired Magistrate Judge, and are fully briefed, in accordance with the
policy established by the Judges of the Southern District of Florida (See Internal Operating
Procedures, Section 2.05.03 -2.05.04). It is hereby

ORDERED that the above-styled actions are hereby REASSIGNED to the calendar of the
Honorable Raag Singhal as of ___! le Loa CO for all further proceedings. It is further

ORDERED that all papers hereafter filed shall bear the assigned case number followed by

the initials AHS in lieu of the present initials.

DONE and ORDERED at ( roel Rim Pract, , Florida, in chambers this Li tay

of Sopvari/, 2020.

 

c: All counsel of record/pro se parties
